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8                                    UNITED STATES DISTRICT COURT

9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                      No. 2:16-MC-00040-MCE-EFB
12                      Plaintiff,                  No. 2:12-CR-00180-MCE
13            v.                                    RELATED CASE ORDER
14   GURDEV KAUR JOHL,
15                      Defendant.
16
17            The Court has received the Notice of Related Case filed on March 4, 2016, (ECF

18   No. 336).

19            Examination of the above-entitled civil and criminal actions reveals that these

20   actions are related within the meaning of Local Rule 123(a) (E.D. Cal. 1997). The

21   actions involve the same defendant and are based on the same or similar claims, the

22   same property transaction or event, similar questions of fact and the same questions of

23   law, and would therefore entail a substantial duplication of labor if heard by different

24   judges.

25            Accordingly, the assignment of the matters to the same judge is likely to effect a

26   substantial savings of judicial effort and is also likely to be convenient for the parties.

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1           The parties should be aware that relating the cases under Local Rule 123 merely

2    has the result that both actions are assigned to the same judge; no consolidation of the

3    action is effected. Under the regular practice of this court, related cases are generally

4    assigned to the district judge and magistrate judge to whom the first filed action was

5    assigned.

6           IT IS SO ORDERED.

7    Dated: March 10, 2016

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